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United States District Court ’""L-EB B`¥’ 351 D.c.
Western District of Tennessee nms JUL 25 PH 22 |2
United States of America ) .'1 'JM lift
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) FDFFHJ ties
vs )
)

Jamm Winiams ) Case No. 05-20224_001 v 6/{3

CONSENT TO MODIFY CONDITIONS OF RELEASE

I, Jamal Williams, have discussed With Loretta Fleming, Pretrial Services/Probation Officer,
modification of my release conditions as follows:

l. Travel restricted to the Western District of Tennessee and the Northern District of Mississippi
for employment purposes only

` modification of my release conditions and ree to abide by this modification
`\ ”\l\@ MMQM 7</+/0@

Sign \§re\_} of Defendant Date Preuial ServicesfProbation Offl leer

CO{'|SCH[

  

I?eg reviewed the conditions With my client and concur that this modification 1s appropriate

?-/%-MS"”

Signature of Defense Counse] Date

X] The above modification of conditions of release is ordered, to be effective on 7 [/ 155 0.">

[ ] The above modification of conditions of release is Ut_ ordered.

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Signature of Judicial Off'u:er

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This notice confirms a copy of the document docketed as number l7 in
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J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

